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                                     ORDERED.


     Dated: March 25, 2019




                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

 In Re:

 MICHAEL J. YADRON,                              Case No. 19-00252-MGW

          Debtor.

                                                 Chapter 7



__________________________/

                ORDER GRANTING MOTION FOR RELIEF FROM STAY

       THIS CAUSE came on for consideration upon the Motion to Lift Automatic Stay filed by
THE CREDIT UNION LOAN SOURCE, LLC. (Court Docket No. 7), secured creditor herein.
Neither the Debtor nor the Trustee have filed a Response to the Motion, in accordance with Local
Rule 2002-4. Therefore, the Court finds that cause exists for the relief sought, and the Motion
should be granted. It is therefore

          ORDERED, ADJUDGED and DECREED that:

       1. The Motion of the creditor is GRANTED and a Final Order lifting the automatic stay
be, and the same hereby is, entered in favor of THE CREDIT UNION LOAN SOURCE, LLC.
and against the Debtor and the estate.
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      2. The automatic stay imposed by Section 362(a) of the Bankruptcy Code be and the
same hereby is lifted with respect to the collateral, more specifically described as 2015 Honda
Accord VIN 1HGCT1B73FA000776.

       3. The Order lifting the automatic stay is entered for the sole purpose of allowing THE
CREDIT UNION LOAN SOURCE, LLC. to obtain property or an in rem judgment against the
property, and that movant shall not seek or obtain an in personam judgment against the Debtor.




Attorney Adam S. Russo is directed to serve a copy of this order on interested parties and file a
proof of service within 3 days of entry of the order.

Copies furnished to:

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